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                 •www.mscrecon.com •




Mrs. Kathryn Breard Platt
Galloway Law Firm
2510 14th Street, Suite 910
Gulfport, Mississippi 39501

5 January 2018

Re: Williams vs D&D Express

Dear Mrs. Platt:

The following report summarizes my investigation into and analysis of the 24 April 2016 motor
vehicle crash involving a 1995 Buick Roadmaster and 2008 Freightliner Cascadia. The 1995
Buick Roadmaster was being operated at the time of the accident by Mr. Daryl Williams. Mr.
Lamario Henderson, Larry Henderson, and Jametrius McCon were riding as Mr. Williams’
passengers at the time of the crash. The 2008 Freightliner was being operated by Mr. Adolfo
Perez at the time of the crash. Mr. Carlos Laguna was riding as Mr. Perez’s passenger at the time
of the crash.

This report should be considered preliminary due to the ongoing nature of the legal process, and
I expect to supplement my findings if additional evidence and testimony becomes available. All
opinions expressed herein are made to a reasonable degree of scientific probability in the field
of accident reconstruction and my area of expertise.

Collision Investigation
We were retained to perform a download of the 2008 Freightliner to preserve any and all data
from the Engine Control Module (ECM). We completed this inspection on 15 June 2016, and
have performed the following additional work as part of our investigation:
   •On 17 October 2017, the 1995 Buick Roadmaster was inspected, photographed, and
        measured.
   •On 7 December 2017, the Sensing and Diagnostic module (SDM) from the Buick was
        downloaded.
   •On 7 December 2017, the collision site was inspected, photographed, videos of the area
        were made, and the roadway was mapped.

In addition to these tasks, we have reviewed the following data and documents:
    •The Mississippi Uniform Crash Report, Mississippi Highway Patrol #9030-
         080424160001 completed by Trooper Joshua LaCap;
    •23 color photographs taken by Trooper LaCap;
    •Google Earth Pro satellite images of the area where the crash occurred,

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    •Vehicle specifications for the 1995 Buick Roadmaster from the US National Highway
          Traffic Safety Administration (NHTSA), Expert Autostats, and several other sources,
          such as publically available Vehicle Identification Number (VIN) data;
    •Specifications for the 2008 Freightliner Cascadia;
    •Weather data from the day of and day before the crash from Wunderground, an internet
          weather data repository;
    •Sun position data from the US Naval Observatory Astronomical Applications Department
          (USNO AAD);
    •HVEDR download from the 2008 Freightliner ECM;
    •CDR download from the 1995 Buick airbag module;
    •Jametrius McCon Complaint;
    •D&D Express Transport Corp’s Answer and Defenses to the Complaint and Third Party
          Complaint Against Daryl D. Williams;
    •Daryl William’s Response to Defendant Adolfo Perez’s First Set of Interrogatories and
          Requests for Production of Documents;
    •Daryl William’s Response to Defendant D&D Express Transport Corp’s First Set of
          Interrogatories and Requests for Production of Documents;
    •Plaintiff Jametrius McCon’s First Supplemental Responses to Defendant D&D Express
          Transport Corp Requests for Production of Documents;
    •Plaintiff Jametrius McCon’s First Supplemental Responses to Defendant D&D Express
          Transport Corp’s Interrogatories
    •Plaintiff Jametrius McCon’s First Supplemental Responses to Defendant Adolfo Perez
          Requests for Production of Documents;
    •Plaintiff Jametrius McCon’s First Supplemental Responses to Defendant Adolfo Perez
          Interrogatories;
    •Plaintiff Jametrius McCon’s Responses to Defendant, Adolfo Perez Interrogatories;
    •Plaintiff Jametrius McCon’s Responses to Defendant, D&D Express Transport Corp
          Interrogatories;
    •D&D Express Transport Corp Responses to the Requests for Production Propounded by
          Plaintiff, Jametrius McCon;
    •D&D Express Transport Corp Responses to the Interrogatories Propounded by Plaintiff,
          Jametrius McCon;
    •Adolfo Perez’s Responses to the Requests for Production Propounded by Plaintiff,
          Jametrius McCon;
    •Adolfo Perez’s Responses to the Interrogatories Propounded by Plaintiff, Jametrius
          McCon;
    •Deposition of Adolfo Perez;
    •Deposition of Isumi Duran;
    •Deposition of Carlos Laguna;




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    •Deposition of Trooper Joshua LaCap;
    •Plaintiff’s expert reports and disclosures.

Collision Description
According to the crash report, the collision occurred just prior to 4:30am. At that time, the
weather was clear and roadway was dry. In the area of the collision, Interstate 10 (I-10) is
straight, with two lanes for eastbound and two lanes for westbound travel, separated by a bridge.

At the time of the crash, Mr. Williams was driving a 1995 Buick Roadmaster and Mr. Perez was
operating a 2008 Freightliner tractor with a box trailer. According to the crash report, Mr.
Williams was driving with a suspended license at the time of the accident. Trooper LaCap confirmed in his
deposition that he ran Mr. Williams’ license and it was suspended.

Prior to the collision, both vehicles were traveling eastbound on I-10 in Jackson County,
Mississippi. In this area, the posted speed limit on I-10 is 70 miles per hour.




Figure 1: Diagram from Mississippi Uniform Crash Report

According to the crash report, the 1995 Buick was traveling in the right, outside lane. Mr.
Williams indicated he ran out of gas and the vehicle came to an abrupt stop. The 2008
Freightliner was also traveling in the right, outside lane.

The collision occurred when Mr. Perez’s 2008 Freightliner overtook Mr. Williams much
slower-moving 1995 Buick and struck the rear offset slightly to the driver’s side. After impact,
both vehicles came to final rest in the eastbound emergency shoulder, facing east.

This collision occurred near mile marker 66 of I-10 in the eastbound outside travel lane.

Crash Site Inspection
In the area where the crash occurred, I-10 is a 4-lane highway traveling east and west with traffic
separated by two 2-lane bridges. Lanes are separated by standard white stripes and standard
white fog lines mark the outer edges of the roadway. Travel lanes are approximately 12 feet
wide. The speed limit was posted at 70 mph in the area of the crash. Roadway conditions
according to the crash report and weather data indicate a dry roadway with clear weather
conditions. The section of roadway in the area of the crash is unlit.

The crash site was located using the GPS coordinates on the Mississippi Uniform Crash Report
and photographs taken by Trooper LaCap. There was no roadway evidence visible from this
crash at the time of our inspection.


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The location of final rest for the 2008 Freightliner was located using GPS coordinates and
matching roadway markings found in trooper photographs with physical markings seen at the
crash site.




Figure 2: Diagram showing potential 2008 Freightliner final rest.

1995 Buick Inspection
On 17 October 2017, the 1995 Buick Roadmaster was inspected and photographed along with a
lamp examination with Mr. Gary Johnson. It is a 4 door sedan with VIN 1G4BN52P2SR405417
and Mississippi license plate JHC689. The vehicle did not have any repairs completed between
the time of the accident and time of inspection.




Photograph: 1995 Buick Roadmaster

An inspection of the Buick’s remaining taillight bulbs was conducted by Mr. Johnson and Mr.
Messerschmidt. There are two types of tail lamp bulbs utilized in the Buick. One type is a single
filament bulb used for tail lights. The other type is a dual filament bulb used for turn signals,
brake lights, and hazard lights.

The single
       g filament bulbs that were inspected
                                      p       showed signs
                                                        g of “hot shock”,, which indicates the
filament was incandescent or illuminated at the time of impact and the tail lights were on.

 The dual filament bulbs that were inspected contain a thin wire and thick wire. The thin wire has
 a higher resistance to draw less current and ggive off less light,
                                                               g , this wire is typically
                                                                                 yp     y used for
pparking
       g and tail lights.
                    g     The thin wire filaments inspected
                                                     p        did show signs
                                                                         g of “hot shock” which
again indicate they were incandescent at the time of impact and the tail lights were on. The thick


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wire has a lower resistance to draw more current and give off more light, this wire is typically
used for turn signals, brake lights, and hazard lights. The thick wire filaments inspected did not
show the same clear indication of “hot shock”, instead they showed signs of bowing. Because
both filaments are not equally deformed potentially indicates the thick wire filament was not
                                 p and was hot because of it’s pproximity
incandescent at the time of impact                                          y to the incandescent
filament. There is not enough g evidence at this time to determine the status of the hazard lights
                                                                                              g at
the time of impact.
               p     ((Baker)) Therefore,, one cannot state to a reasonable degree
                                                                               g of scientific
probability that the hazard lights were on or not on at the time of the collision.




Excerpts: Taillight bulb inspection

The vehicle sustained damage to the rear, including damage to the rear bumper, trunk, and
driver/passenger side quarter panels. Crush measurements were taken at the inspection to
determine approximate closing speed. Based on these measurements, the Freightliner was offset
to the driver’s side slightly.




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Photograph: Crush damage

On 7 December 2017, the Sensing and Diagnostic module (SDM) from the Buick was imaged
through the DLC connector. The module contained no crash related data but was capable of
recording 300ms of longitudinal delta v. The airbags did not deploy at the time of the crash.

2008 Freightliner
           g        Inspection/ECM
                       p               Download
On 15 June 2016, the 2008 Freightliner Cascadia was downloaded and photographed. The VIN
was documented as 1FUJGLCK38LY72335 at this time with Florida tag F1766U. The tractor
and trailer were both documented as D&D express with tractor number 515. At the time of this
inspection, the majority of the damage to the tractor had been repaired, as the tractor had been
put back in service. The front grille appeared to be the same as at the time of the accident. The
ECM download was the only activity conducted, no other inspection of the tractor or trailer was
done at this time.




Photograph: 2008 Freightliner at time of accident




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Photograph: 2008 Freightliner at time of download

The 2008 Freightliner was equipped with a Detroit Diesel series 60 engine and DDEC VI ECM.
This ECM potentially records the last 2 Hard Brake events when wheel speed exceeds a set
parameter of 7 miles per hour per second. A Hard Brake event consists of 59 seconds of data
prior to a change in wheel speed greater than the programmed parameter. This data includes
speed, brake applications, engine RPM, engine load, cruise control, etc. The ECM will also
record a Last Stop event when the wheel speed reaches 0 miles per hour. This type of event
records the same data as a Hard Brake event but 1 minute 44 seconds is recorded instead of 59
seconds.

ECM Download
On 15 June 2016 at approximately 7:45am, the 2008 Freightliner Cascadia was photographed
and downloaded.

The engine serial number for this tractor was documented as 06R0985090. The DDEC VI ECM
consists of two independent electronic control modules, Common Powertrain Controller (CPC)
serial number 09.0048.00035 and Motor Control Module (MCM) serial number A6930001.
ECM odometer showed total trip distance 888546.2 miles. The ECM had a slow clock drift of
approximately 2 hours. The ECM at the time of download had the governed maximum road
speed parameter set at 75.06 miles per hour and the maximum governed cruise speed set at 73.07
miles per hour. This would have made it difficult for the Freightliner to reach speeds higher than
the set parameters on a flat stretch of roadway such as the section of I-10 where the accident
occurred.




Page 12 of Data Imaging Report




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The ECM records monthly activity data for the last three months of driving. The April, May, and
June months were all recorded. The average vehicle speed and Hard Brake count for each month
is recorded as follows:

             Month                      Average Vehicle Speed             Hard Brake Count
               April                             57.3 mph                          2
               May                               56.2 mph                          3
               June                              62.6 mph                          0

The monthly activity for April can be further broken down as percentage of driving time under
66 miles per hour, between 66-71 miles per hour and over 71 miles per hour.

                  Vehicle Speed                                Driving Time (Percentage)
                  Under 66 mph                                          53.94 %
                   66-71 mph                                            21.48 %
                  Over 71 mph                                           24.58 %

Daily Engine Usage data was recorded for the dates ranging from 05/04/2016 to 06/15/2016. The
Daily Engine Usage data from the month of May is consistent with the Monthly Activity in
regard to average vehicle speed.




Excerpts from Daily Engine Usage (May 2016, page 32)

Calculations
According to Mississippi Highway Patrol photographs and testimony from Trooper LaCap, there
were skid marks left by the Freightliner approximately the length of the tractor-trailer
combination but no measurements were taken. Assuming the tractor-trailer measured
approximately 70 feet long, the skid marks at the time of the accident would be similar. If the
Freightliner was travelling between 60-65 miles per hour (88-95.3 feet per second) as stated in
Mr. Perez’s deposition, the Freightliner would have begun braking 0.73-0.79 seconds before
impact. Using a tire/roadway coefficient of friction of 0.4 would have slowed the Freightliner
down to approximately 52-58 miles per hour at impact.

The closing speed at impact between the two vehicles was estimated by using crush stiffness
coefficients and crush measurements applicable to the 1995 Buick Roadmaster. The coefficients
were applied to the measurements of the approximate width and depth of the damage compared
to published vehicle dimensions.




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Based on the analysis of the damage, the closing speed at impact was calculated to be
approximately 45 miles per hour. (Robinson) (Tumbas & Smith) If the Freightliner was
travelling between 52-58 miles per hour, that would put the Buick’s speed at impact between 7-
13 miles per hour. This is inconsistent with Mr. Williams response to interrogatories that they
were travelling approximately 58 miles per hour moments before impact. This is also consistent
with McCon’s medical records where he stated they were traveling no more than 10 miles per
hour.

Assuming Mr. Williams vehicle was travelling approximately 58 miles per hour when he
experienced some type of mechanical failure. Using a tire/roadway coefficient of friction of 0.05,
it would have taken Mr. Williams approximately 46-41 seconds or 2216-2136 feet of rolling to
reach the calculated impact speed of 7-13 miles per hour. It would have taken Mr. Williams
approximately 52 seconds or 2,249 feet to come to a complete stop. This would have allowed a
sufficient amount of time and distance for Mr. Williams to find a safe place to pull the Buick
onto the shoulder of I-10.

According to the accident report, the accident occurred around mile marker 66 of I-10, at this
point Mr. Williams would have still been approximately 10,326 feet or 1.96 miles from the
nearest exit. This is inconsistent with Mr. Williams response to interrogatories that they were
coming up on their exit and would have needed to slow down to take it. Based on the
information, data, documents, and interrogatory responses, Mr. Williams would not have
been able to reach his exit given the amount of distance away and the high-rise portion of the
bridge he would have to overcome.

Conclusions

    1. The Freightliner was traveling 60-65 miles per hour, assuming the speed as testified by
         Mr. Perez.
    2. The Buick’s tail lights were on at the time of impact. There is not enough evidence to
         determine the status of the hazard lights at the time of impact. Therefore, one cannot
         state to a reasonable degree of scientific probability that the hazard lights were on or
         not on at the time of the collision.
    3. The Buick was traveling 7-13 miles per hour at the time of impact.
    4. Assuming the Buick was traveling 58 miles per hour when some type of mechanical
         failure caused the vehicle to lose power, as testified by Mr. Williams in his response to
         interrogatories, the Buick could have rolled a distance of approximately 2249 feet or 52
         seconds before coming to a complete stop, which is a sufficient amount of time and
         distance to safely pull the Buick onto the shoulder of I-10.
    5. According to the accident report, the area of impact was approximately 10,326 feet or
         1.96 miles from the nearest exit. Mr. Williams could not have made it to his exit off the bridge.

This report is based on the data and documents specifically referenced, and we recognize that the
legal discovery process is ongoing. All of the opinions expressed, however, are expressed to a
reasonable degree of professional and scientific certainty based on the evidence referred to
above.


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We reserve the right to supplement our findings if new, relevant evidence becomes available.

My opinions are based on my training, education, and experience in Accident Reconstruction,
the work performed and the documents that are referred to above. Please contact us if you need
further analysis of the conclusions discussed above.

References cited in this report, fee schedule, and my current CV are attached as appendices to this
report. I have no list of testimony for the past four years.

Sincerely,




Shanon Burgess




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